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Entered: January 25, 2013
Signed: January 25, 2013

SO ORDERED




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND
                                                     at Baltimore

                              In re: Case No.: 12−27526 − NVA               Chapter: 7
In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Gina Adams
   fka Gina Montague
   116 Water Fountain Way
   Unit 102
   Glen Burnie, MD 21060
   Social Security No.: xxx−xx−0265
   Employer's Tax I.D. No.:


                                                FINAL DECREE

Petition for Relief under Chapter 7 of Title 11, U.S. Code was filed by or against the above−named debtor(s) on
9/25/12.

The estate of the above−named debtor(s) has been fully administered.

ORDERED, that Monique D. Almy is discharged as trustee of the estate of the above−named debtor(s); and the
Chapter 7 case of the above named debtor(s) is closed.



fnldec − laspivey
                                                    End of Order
